This was an action of debt, brought at the instance of another relator upon the same bond which was sued upon in the case of the State upon the relation of John Hughes, decided at the December Term, 1844, of this Court, and reported in 27 N.C. 203. The defendants pleaded non est factum, and upon the trial of the issues thereon joined they raised several objections *Page 387 
to the recovery of the relator, among which was one that             (531) the bond in question was never taken by any court. The objections were all overruled by the presiding judge, and the relator had a verdict and judgment, from which the defendant appealed.
For the reasons given by the Court in the case of the State upon the relation of Hughes against the same defendants as those now before us, S.v. King, 27 N.C. 203, we deem the objection, that the bond was never taken by any court, to be fatal to the relator's right to recover in this action. The judgment must, therefore, be reversed, and a venire de novo
awarded.
PER CURIAM.         Judgment reversed, and venire de novo.
 *Page 13 